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                                           7

                                           8   Proposed Attorneys for Debtors

                                           9
                                                                         UNITED STATES BANKRUPTCY COURT
                                          10                                    DISTRICT OF NEVADA
                                          11
                                               In re:                                                  Case No.: BK-S-18-16584-abl
                                          12                                                           Chapter 11
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                                               BACHI BURGER, L.L.C.,                                   (Joint Administration Pending)
                                          13
        Las Vegas, Nevada 89101




                                                                       Debtor.
          850 E. Bonneville Ave.




                                          14

                                          15
                                               In re:                                                  Case No.: BK-S-18-16584-btb
                                          16                                                           Chapter 11
                                               GREEN REVOLUTIONS LLC,
                                          17
                                                                       Debtor.                         Date: OST PENDING
                                          18
                                                                                                       Time: OST PENDING
                                          19
                                                   AMENDED EMERGENCY MOTION PURSUANT TO 11 U.S.C. §§ 105, 361, 363, AND
                                          20         506, AND FED. R. BANKR. P. 4001(b) FOR ENTRY OF INTERIM AND FINAL
                                                     ORDERS (A)(I) AUTHORIZING THE USE OF CASH COLLATERAL, AND (II)
                                          21         GRANTING RELATED RELIEF, AND (B) SCHEDULING A FINAL HEARING
                                          22            Bachi Burger, L.L.C., a Nevada limited liability company (“Bachi Burger”), and Green
                                          23   Revolutions LLC, a Nevada limited liability company (“Green Revolutions” and together with
                                          24   Bachi, the “Debtors”), debtors and debtors-in-possession, hereby submit their amended emergency
                                          25   motion (the “Motion”)1 requesting that the Court enter an interim order: (a) authorizing Debtors’
                                          26   use of cash collateral on an emergency interim basis pending a final hearing, and granting related
                                          27
                                               1
                                          28      Debtors’ original emergency motion [ECF No. 19] was filed prematurely and contained certain incorrect
                                               information. This amended Motion is intended to replace their prior Motion in its entirety.
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                                           1   relief; and (b) scheduling a final hearing with respect to the Motion for consideration of entry of a
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                                           2   final order for the period from the final hearing through and including April 2019, or the Debtors’
                                           3
                                           3   emergence from bankruptcy, whichever is earlier. This Motion is made and based on the points
                                           4
                                           4   and authorities herein, the Omnibus Declaration of Lorin Watada in Support of Debtors’ Initial
                                           5
                                           5   Emergency Motions and Related Relief (the “Omnibus Declaration”), the papers and pleadings on
                                           6
                                           6   file herein, judicial notice of which is respectfully requested, and any arguments of counsel
                                           7
                                           7   entertained by the Court at the time of the hearing on this matter.
                                           8
                                           8                                            I. Introduction
                                           9
                                           9          1.      Bachi Burger owns and operates the Bachi Burger restaurant located at 9410 W.
                                          10
                                          10   Sahara Avenue, Suite 150, Las Vegas, Nevada, and Green Revolutions owns and operates the
                                          11
                                          11   Bachi Burger restaurant located at 470 E. Windmill Lane, Suite 100, Las Vegas, Nevada. Both
                                          12
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                                               restaurants (the “Businesses”) specialize in Asian-style gourmet burgers and sides. Lorin Watada,
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                                          12
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                                          13   the Debtors’ managing member, manages and operates the Businesses.
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                                          14          2.      On November 1, 2018 (the “Petition Date”), Debtors filed their respective voluntary
                                          15
                                          15   petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
                                          16
                                          16   thereby commencing their bankruptcy cases (the “Chapter 11 Cases”). Debtors are authorized to
                                          17
                                          17   operate their Businesses and property as debtors in possession pursuant to sections 1107(a) and
                                          18
                                          18   1108 of the Bankruptcy Code. Debtors are small business debtors pursuant to section 101(51D)
                                          19
                                          19   of the Bankruptcy Code. Additional information regarding the Debtors’ businesses is contained
                                          20
                                          20   in the Omnibus Declaration of Lorin Watada in Support of Debtors’ Initial Emergency Motions
                                          21
                                          21   and Other Relief (the “Omnibus Declaration”). No official committees have been formed in these
                                          22
                                          22   Chapter 11 Cases.
                                          23
                                          23                                      II. Jurisdiction and Venue
                                          24
                                          24          3.      The Court has subject matter jurisdiction to consider and determine this matter
                                          25
                                          25   pursuant to 28 U.S.C. §§ 157 and 1334, and Local Rule 1001(b)(1). This is a core proceeding
                                          26
                                          26   pursuant to 28 U.S.C. § 157(b). Pursuant to LR 9014.2, Debtors consent to the entry of final orders
                                          27
                                          27   and judgments by the bankruptcy judge. Venue is proper before this Court pursuant to 28 U.S.C.
                                          28
                                          28   §§ 1408(1) and 1409(a).


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                                           1                                  III. Summary of Relief Requested
                                           2
                                           2          4.      Debtors seek entry of an order: (a)(i) authorizing the use of cash collateral,
                                           3
                                           3   including cash on hand, proceeds and profits that may be received post-petition through continued
                                           4
                                           4   operation of their Businesses on an emergency, interim basis from the date of an interim hearing
                                           5
                                           5   (the “Interim Hearing”) on this Motion through and including the date of a final hearing (the “Final
                                           6
                                           6   Hearing”) on this Motion, as necessary to the continued operation of the Business and as necessary
                                           7
                                           7   to avoid immediate and irreparable harm, (ii) granting related relief; and (b) scheduling the Final
                                           8
                                           8   Hearing to consider final relief authorizing Debtors’ use of cash collateral for the period from the
                                           9
                                           9   Final Hearing through and including April 2019, or the Debtors’ emergence from bankruptcy,
                                          10
                                          10   whichever is earlier, for use in the ordinary course operations of their Businesses, and without
                                          11
                                          11   prejudice to potential continued extensions of such use as may be requested on a further noticed
                                          12
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                                               motion or per agreement with any applicable secured creditors.
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                                          12
                                          13
                                          13          5.      Debtors propose that the Court authorize the use of Cash Collateral on an
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                                          14   emergency interim basis in accordance with the form of interim order (the “Interim Order”)
                                          15
                                          15   attached as Exhibit 1 and in accordance with the budgets (the “Budgets”) attached as Exhibit 2
                                          16
                                          16   for Bachi Burger, and as Exhibit 3 for Green Revolutions, provided that for any expenditure line
                                          17
                                          17   item provided in the Budget in any given month, Debtors may use cash collateral in excess of such
                                          18
                                          18   amount set forth in the Budgets, so long as the percentage of deviation for each line item shall not
                                          19
                                          19   exceed fifteen percent (15%) for said expenditures with positive variances carrying forward.
                                          20
                                          20          6.      As Debtors’ emergency interim request pending a Final Hearing, which is
                                          21
                                          21   necessary to avoid immediate and irreparable harm to its Businesses and the bankruptcy estates
                                          22
                                          22   pending a Final Hearing, Debtors request that it be permitted to use cash collateral to pay all items
                                          23
                                          23   in the Budgets for the period from the Petition Date through the date of the Final Hearing. The
                                          24
                                          24   Budgets for this interim period include critical expenses necessary to the basic maintenance and
                                          25
                                          25   operation of the Debtors’ Businesses, and which will serve to preserve and protect them and their
                                          26
                                          26   value pending a Final Hearing. The Budgets include only payments incurred in the ordinary course
                                          27
                                          27   and operations of the Debtors’ Businesses.
                                          28
                                          28


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                                           1                                         IV. Statement of Facts
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                                           2          7.      The Debtors’ Chapter 11 Cases were filed principally to forestall certain collection
                                           3
                                           3   actions by the State of Nevada Department of Taxation and the Internal Revenue Service for
                                           4
                                           4   certain tax liabilities arising out of or relating to the Businesses, and to restructure those debts to
                                           5
                                           5   be repaid over time through continued operation of the Businesses. The Debtors anticipate filing
                                           6
                                           6   a proposed joint chapter 11 plan of reorganization in the first two months of these cases proposing
                                           7
                                           7   to repay the allowed claims of these taxing authorities in full over the up to five year time period
                                           8
                                           8   permitted under applicable law. The State of Nevada Department of Tax apparently has recorded
                                           9
                                           9   certain tax liens against the Debtors in the Official Records of Clark County, Nevada, and thus
                                          10
                                          10   could assert some interest in the Debtors’ property, however, it is unclear if that extends to and/or
                                          11
                                          11   is properly perfected in the Debtors’ cash and cash collateral.
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                                                      8.      Per a UCC financing statement search with the Nevada Secretary of State, the only
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                                          12
                                          13
                                          13   other parties with potential interests in and to the Debtors’ cash collateral and related personal
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                                          14   property are East Bay Cap, LLC a/k/a Snap Cap who provided certain accounts receivables
                                          15
                                          15   financing, and U.S. Foods, however, both of those parties have been paid compromised amounts
                                          16
                                          16   in satisfaction of their prior debts and thus they do not have any remaining claims.
                                          17
                                          17          9.      No party has actual possession or control via a deposit account control agreement
                                          18
                                          18   over the Debtors’ cash and cash collateral.
                                          19
                                          19          10.     Any alleged secured creditors’ interests will be adequately protected through the
                                          20
                                          20   continued operations of the Debtors’ Businesses and the resulting preservation of value, which
                                          21
                                          21   continued operations will also allow the Debtors to generate the funds necessary to fund its
                                          22
                                          22   proposed chapter 11 plan of reorganization that will pay all creditors with allowed claims in full.
                                          23
                                          23          11.     In the ordinary course of business, Debtors have ongoing obligations including
                                          24
                                          24   paying employee salaries, food providers, utilities, insurance, and other necessary maintenance
                                          25
                                          25   and operating expenses as detailed in the Budgets. The expenses as detailed in the Budgets are
                                          26
                                          26   reasonable and necessary to the operations of the Businesses, in the ordinary course of business,
                                          27
                                          27   and are consistent with the Debtors’ historical operations.
                                          28
                                          28          12.     Provided that the Businesses continue to operate in the ordinary course of business,


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                                           1   they will not decrease in value during the pendency of these proceedings. Absent immediate access
                                           2
                                           2   to Cash Collateral consistent with the Budgets, Debtors will have insufficient cash to continue
                                           3
                                           3   operations, and the Businesses will be forced to cease operations, thereby eliminating Debtors’
                                           4
                                           4   source of revenue, eliminating any chance they have for a successful reorganization, and resulting
                                           5
                                           5   in immediate and irreparable harm to Debtors and their estates. Furthermore, the ongoing business
                                           6
                                           6   and the use of cash collateral generated will maintain and preserve the Businesses serving as any
                                           7
                                           7   secured creditors’ collateral, and thus also benefits each of them as well. If the Businesses do not
                                           8
                                           8   remain operating during the pendency of these proceeding, Debtors will be required to shutdown,
                                           9
                                           9   all employees’ jobs will be lost, and any goodwill with its customers will be eliminated, thus
                                          10
                                          10   leaving little, if any, remaining value for any alleged secured creditors.
                                          11
                                          11                                            V. Legal Argument
                                          12
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                                               A.      The Proposed Use of Cash Collateral is Appropriate and Should be Authorized.
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                                          12
                                          13
                                          13           13.     Section 363 of the Bankruptcy Code provides that a debtor in possession may not
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                                          14   use cash collateral unless each entity with an interest in such cash collateral consents, or the court,
                                          15
                                          15   after notice and a hearing, authorizes the use in accordance with that section. See 11 U.S.C. §
                                          16
                                          16   363(c)(2); see also Sears Savings Bank v. Tucson Industrial Partners, 129 B.R. 614 (B.A.P. 9th
                                          17
                                          17   Cir. 1991).
                                          18
                                          18           14.     Section 363(e) of the Bankruptcy Code provides, in relevant part, that “at any time,
                                          19
                                          19   on request of an entity that has an interest in property used . . . or proposed to be used, by the
                                          20
                                          20   trustee, the court, with or without a hearing, shall prohibit or condition such use . . . as is necessary
                                          21
                                          21   to provide adequate protection of such interest.” 11 U.S.C. § 363(e).
                                          22
                                          22           15.     Section 363(c)(3) of the Bankruptcy Code permits a preliminary hearing and order
                                          23
                                          23   for use of Cash Collateral until a final hearing on the matter can be held. See 11 U.S.C. § 363(c)(3).
                                          24
                                          24   In addition, this section states that “[t]he court shall act promptly on any request for authorization
                                          25
                                          25   under paragraph 2(B) of this subsection.” Id. Bankruptcy Rule 4001(b)(2) specifically authorizes
                                          26
                                          26   the bankruptcy court to conduct a preliminary hearing and authorize the use of cash collateral as
                                          27
                                          27   necessary to avoid immediate irreparable harm to the estate.
                                          28
                                          28           16.     Pursuant to section 363(a) of the Bankruptcy Code, cash collateral includes cash,


                                                                                                  5
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                                           1   cash equivalents, deposit accounts, rents, and proceeds “in which the estate and an entity other
                                           2
                                           2   than the estate have an interest.” Whether an entity has a security interest in a particular type of
                                           3
                                           3   property is generally determined by state law. See Butner v. United States, 440 U.S. 48, 57 (1979);
                                           4
                                           4   Raleigh v. Illinois Dep’t of Revenue, 530 U.S. 15, 20 (2000). The “interest” set forth in section
                                           5
                                           5   363(a) of the Bankruptcy Code refers to a valid and perfected security interest between the parties
                                           6
                                           6   that secures the cash collateral. See Waldron v. Nw. Acceptance Corp. (In re Johnson), 62 B.R.
                                           7
                                           7   24, 28-29 (B.A.P. 9th Cir. 1986); In re Corner Pockets of the Sw., Inc., 85 B.R. 559, 562 (Bankr.
                                           8
                                           8   D. Mont. 1988).
                                           9
                                           9          17.     To the extent Debtors are authorized to use cash collateral, commencing on the
                                          10
                                          10   Petition Date and each date thereafter, as set forth in the Budget, Debtors will generate post-
                                          11
                                          11   petition revenue in the form of continued profits. Although section 552(a) of the Bankruptcy Code
                                          12
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                                               states the general rule that property acquired after the commencement of a bankruptcy case is not
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                                          12
                                          13
                                          13   subject to pre-petition liens, section 552(b)(1) of the Bankruptcy Code provides as follows:
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                                          14                  Except as provided in sections 363, 506(c), 522, 544, 545, 547, and
                                          15
                                                              548 of this title, if the debtor and an entity entered into a security
                                          15
                                          16                  agreement before the commencement of the case and if the security
                                          16                  interest created by such security agreement extends to property of
                                          17                  the debtor acquired before the commencement of the case and to
                                          17                  proceeds, products, offspring, or profits of such property, then such
                                          18                  security interest extends to such proceeds, products, offspring, or
                                          18                  profits acquired by the estate after the commencement of the case to
                                          19
                                                              the extent provided by such security agreement and by applicable
                                          19
                                          20                  nonbankruptcy law, except to any extent that the court, after notice
                                          20                  and a hearing and based on the equities of the case, orders otherwise.
                                          21
                                          21   11 U.S.C. § 552(b)(1).
                                          22
                                          22          18.     Further, even to the extent section 552(b)(1) of the Bankruptcy Code provides that
                                          23
                                          23   either secured creditors’ pre-petition security interests extends to revenues generate post-petition,
                                          24
                                          24   it also allows the Court, and “based on the equities of the case,” to order otherwise. See 11 U.S.C.
                                          25
                                          25   § 552(b)(1). As stated by one court:
                                          26
                                          26                  Even if there is a valid security interest in post-petition acquired
                                          27                  property constituting the proceeds, products, offspring, or profits of
                                          27                  pre-petition collateral, § 552(b)(1) still allows a court to trump a pre-
                                          28
                                                              petition lien to this post-petition lien to this post-petition acquired
                                          28
                                                              property after notice and a hearing and based on the equities of the


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                                                              case. Depending on the equities of the case, profit or loss of the
                                           1                  property may be given to the estate or to the secured party, or
                                           2
                                                              apportioned between them. The equities of the case doctrine is
                                           2
                                           3                  intended to ensure that secured creditors do not receive a windfall
                                           3                  benefit when a trustee uses assets of the estate, for example, to finish
                                           4                  uncompleted inventory, and it is also used to adjust recovery by a
                                           4                  secured credit in situations where there is an improvement or decline
                                           5                  in the post-petition collateral, especially in situations where the
                                           5                  change in value is brought about by a party in the bankruptcy.
                                           6
                                           6   In re Barbara K. Enterps., Inc., No. 08-11474, 2008 WL 24396549, at *11 (Bankr. S.D.N.Y. 2008).
                                           7
                                           7          19.     The case law and applicable legislative history accompanying section 552(b) of the
                                           8
                                           8   Bankruptcy Code demonstrate that this equitable exception applies where an expenditure of estate
                                           9
                                           9   funds preserves or increases the value of the collateral subject to the security interest in question.
                                          10
                                          10   See H. Rep. No. 595, 95th Cong., 1st Sess. 376-77 (1977); J. Catton Farms., Inc. v. First Nat’l
                                          11
                                          11   Bank of Chicago, 779 F.2d 1242, 1246 (7th Cir. 1985); Wolters Village, Ltd., v. Village Props.,
                                          12
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                                          12   Ltd (In re Village Props., Ltd.), 723 F.2d 441, 444 (5th Cir. 1984); In re Carbone Cos., 395 B.R.
                                          13
                                          13   631, 636-37 (Bankr. N.D. Ohio 2008); In re Gunnison Ctr. Apartments, LP, 320 B.R. 391, 397-99
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                                          14   (Bankr. D. Colo. 2005) (finding that a secured creditor was adequately protected where the cash
                                          15
                                          15   collateral was utilized to “operate the property in good fashion, pay the expenses of operation and
                                          16
                                          16   the costs of maintenance to preserve and protect the property, and account for the monies received
                                          17
                                          17   and the expenses paid”); In re Franklin Pembroke Venture II, 105 B.R. 276, 278 (Bankr. E.D. Pa.
                                          18
                                          18   1989); McCombs Props. VI, Ltd. v. First Tex. Sav. Ass’n (In re McCombs Props. VI, Ltd.), 88
                                          19
                                          19   B.R. 261 (Bankr. C.D. Cal. 1988); Hartsgan v. Pine Lake Village Apt. Co. (In re Pine Lake Village
                                          20
                                          20   Apt. Co.), 16 B.R. 750 (Bankr. S.D.N.Y. 1982) (holding that despite the absence of a creditor’s
                                          21
                                          21   consent to the debtor’s use of post-petition cash collateral, the debtor was authorized to use cash
                                          22
                                          22   collateral to maintain its apartment property, and that this would ensure that the creditor was
                                          23
                                          23   adequately protected).
                                          24
                                          24          20.     As applied to the case at hand, as illustrated by their Budgets, the Debtors are only
                                          25
                                          25   seeking to use cash collateral to preserve, maintain and operate the Businesses in the ordinary
                                          26
                                          26   course of business. Each expense included in the Budgets is necessary and appropriate to the
                                          27
                                          27   Businesses, which is Debtors’ sole means of generating revenue. Accordingly, Debtors should be
                                          28
                                          28   granted authority to use cash collateral consistent with the Budget and the other terms and


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                                           1   conditions as set forth herein, as such use to maintain the Businesses and allow them to eventually
                                           2
                                           2   repay the obligations in full via a confirmed chapter 11 plan itself provides any alleged secured
                                           3
                                           3   lenders with adequate protection.
                                           4
                                           4          21.     Second, Debtors assert that pursuant to section 552 of the Bankruptcy Code, any
                                           5
                                           5   alleged secured creditors in this case lack a perfected security interest in the proceeds, products,
                                           6
                                           6   offspring, or profits generated from the Businesses post-petition, such that they lack standing to
                                           7
                                           7   contest the Debtors’ use of cash collateral. Moreover, even to the extent any secured creditors’
                                           8
                                           8   security interests do extend to such post-petition collateral, it is necessary and appropriate based
                                           9
                                           9   on the “equities of the case” pursuant to section 552(b)(1) to authorize the use of cash collateral in
                                          10
                                          10   the case at hand in order to allow the Debtors to continue operating and to generate the future
                                          11
                                          11   earnings necessary to allow them to pay back all creditors in full over time, which ability the
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                                               Debtors have as set forth in the Budgets.
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                                          13
                                          13   B.     The Need for Immediate Relief Pending a Final Hearing
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                                          14          22.     Pursuant to Bankruptcy Rule 4001(b), a final hearing on a motion to use cash
                                          15
                                          15   collateral may not be commenced earlier than fifteen (15) days after service of such motion. The
                                          16
                                          16   Court, however, is authorized to conduct an expedited hearing prior to the expiration of such 15-
                                          17
                                          17   day period and to authorize the use of cash collateral to the extent necessary to avoid immediate
                                          18
                                          18   and irreparable harm to a debtor’s estate.
                                          19
                                          19          23.     The Ninth Circuit has recognized that immediate interim relief may be crucial to
                                          20
                                          20   the success of a business reorganization:
                                          21
                                          21                  We realize that in certain circumstances, the entire reorganization
                                          22
                                                              effort may be thwarted if emergency leave is withheld and that
                                          22
                                          23                  reorganization under the Bankruptcy Code is perilous process,
                                          23                  seldom more so that at the outset of the proceeding when the debtor
                                          24                  is often without sufficient cash flow to fund a central business
                                          24                  operation. It is for this reason that Congress specified that hearings
                                          25                  concerning the use of cash collateral shall be scheduled in
                                          25                  accordance with the needs of the debtor.
                                          26
                                          26   Owens-Corning Fiberglas Corp. v. Center Wholesale, Inc. (In re Center Wholesale, Inc.), 759 F.1d
                                          27
                                          27   1440, 1449 n.21 (9th Cir. 1985) (quotations omitted).
                                          28
                                          28          24.     Pursuant to Bankruptcy Rule 4001(b), Debtors request that the Court (i) schedule


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                                           1   the Interim Hearing and a Final Hearing to consider approval of Debtors’ use of cash collateral
                                           2
                                           2   and (ii) authorize Debtors, pursuant to the terms of the Interim Order, to use cash collateral in
                                           3
                                           3   accordance with the Budget pending the Final Hearing. If Debtors are unable to obtain the
                                           4
                                           4   immediate use of cash collateral and is denied the ability to use the income generated from the
                                           5
                                           5   Business pending the Final Hearing, they will be unable to maintain and operate their Businesses
                                           6
                                           6   and Debtors will be forced to cease business operations with a concomitant immediate and
                                           7
                                           7   irreparable harm to the value of the Businesses and ultimately the estates and their creditors.
                                           8
                                           8   C.     Waiver of the Stay on the Effectiveness of the Interim Order is Warranted.
                                           9
                                           9          25.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease
                                          10
                                          10   of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court
                                          11
                                          11   orders otherwise.” In view of the urgency of the relief requested herein and the risk to Debtors’
                                          12
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                                               operations if Debtors cannot operate, a fourteen-day stay of the relief sought herein is impractical.
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                                          13
                                          13   Accordingly, Debtors request that this Court waive the stay under Bankruptcy Rule 6004(h) and
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                                          14   provide in the order granting the relief sought herein that such order shall be effective immediately.
                                          15
                                          15                                       VI. Reservation of Rights
                                          16
                                          16          26.     Nothing contained herein is intended or shall be construed as: (i) an admission as
                                          17
                                          17   to the validity of any claim against Debtors; (ii) a waiver of Debtors’ or any party in interest’s
                                          18
                                          18   rights to dispute any claim’; or (iii) an approval or assumption of any agreement or lease under
                                          19
                                          19   section 365 of the Bankruptcy Code. Likewise, if this Court grants the relief sought herein, nothing
                                          20
                                          20   herein is intended and should not be construed as an admission to any claim’s validity or a waiver
                                          21
                                          21   of Debtors’ rights to dispute such claim subsequently.
                                          22
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                                           1                                             VII. Conclusion
                                           2
                                           2           WHEREFORE, Debtors respectfully request that the Court enter the Interim Order thereby:
                                           3
                                           3   (1) authorizing and approving Debtors’ emergency, interim use of cash and cash collateral, subject
                                           4
                                           4   to the terms and conditions herein and consistent with the Budgets through and including the date
                                           5
                                           5   of a Final Hearing; (2) schedule a Final Hearing on use of cash and cash collateral no sooner than
                                           6
                                           6   15 days after the interim hearing; and (3) granting such other and further relief as is just and proper.
                                           7
                                           7           DATED: November 5, 2018.
                                           8                                                   By:      /s/ Matthew C. Zirzow
                                           8                                                         LARSON ZIRZOW & KAPLAN, LLC
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                                                                                                     ZACHARIAH LARSON, ESQ.
                                           9
                                          10                                                         Nevada Bar No. 7787
                                          10                                                         MATTHEW C. ZIRZOW, ESQ.
                                          11                                                         Nevada Bar No. 7222
                                          11                                                         850 E. Bonneville Ave.
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 LARSON ZIRZOW & KAPLAN, LLC




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                                                                                                     Proposed Attorneys for Debtors
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        Las Vegas, Nevada 89101




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